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                         EXHIBIT A:
INFORMATION CONCERNING DISPUTED CLAIM
     TERMS, PURSUANT TO SPR 6.1(c)(2)




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Claim term: “a piston moveable between a retracted position and an extended position within the cylinder”
Party or Parties              Proposed Construction             Supporting Intrinsic               Supporting Extrinsic
                                                                Evidence                           Evidence
Davies Innovations Inc.      Plain and ordinary meaning,        None provided.                     None provided.
and                          i.e., “a piston moveable
Sturm, Ruger & Company, Inc. between a retracted position
                             and an extended position
                             within the cylinder”

SIG Sauer, Inc.               “A piston that laterally moves    ‘722 Patent Specification:         Images of Aspects of Mr.
                              between a forward (retracted)     • Col. 4, ll. 50-51 (“Piston       Davies’ Commercial
                              position and a rearward           assembly 34 includes a             Embodiment
                              (extended) position, in each of   cylinder 40, a piston 42 and an    • DAV000390, DAV000404,
                              which positions the piston is     end plug 43.”);                    DAV000409
                              borne by and resides directly     • Col. 4, ll. 55-59 (“Piston 42
                              inside the cylinder.”             is carried within cylinder 40      Excerpt from “The Reduced
                                                                and includes a hollow piston       Recoil Operational
                                                                head 45 with self cleaning         Compensation (RROC) Rifle
                                                                grooves 46 formed in piston        and Carbine Upgrade User
                                                                head 45, to prevent build-up of    Manual January 2003”
                                                                powder residue such as carbon,     • DAV000497 (“When a
                                                                engaging an inner surface of       cartridge is fired and the bullet
                                                                cylinder 40.”);                    passes the gas port, a small
                                                                • Col. 4, ll. 62-64 (“Piston 42    amount of gas is drawn off
                                                                is movable between a retracted     through the barrel gas port into
                                                                position as shown in FIG. 3,       the gas cylinder. This passes
                                                                and an extended position as        through a hole in the gas piston
                                                                shown in FIG. 4.”);                and drives the gas piston to the
                                                                • Figures 3 and 4;                 rear.”)
                                                                • Col. 3, ll. 21-27, 30-35 (“The
                                                                foregoing and further and more
                                                                specific objects and advantages

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                                 of the invention will become       Excerpts from May 30, 2010
                                 more readily apparent to those     Slide Presentation by Robert
                                 skilled in the art from the        B. Davies
                                 following detailed description     • DAV000511, DAV000514-
                                 of a preferred embodiment          DAV000518
                                 thereof, taken in conjunction
                                 with the drawings in which:        Undated Schematic Drawing
                                 FIG. 1 is a side elevation view    with annotations:
                                 of a rifle in accordance with      • DAV000632
                                 the present invention;... FIG. 3
                                 is a view in top plan of a         Letter from Dr. John P. Keady
                                 portion of the rifle of FIG. 1,    to Robert Davies (circa July
                                 illustrating an operating system   23, 2012)
                                 at initiation of a cycle, in       • DAV02430-DAV02434
                                 accordance with the present
                                 invention; FIG. 4 is an
                                 enlarged partially exploded
                                 perspective view of a portion
                                 of the operating system of FIG.
                                 3, at subsequent position of the
                                 cycle”)




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Claim term: “an end plug removably closing the open forward end of the cylinder”
Party or Parties              Proposed Construction             Supporting Intrinsic               Supporting Extrinsic
                                                                Evidence                           Evidence
Davies Innovations Inc.      Plain and ordinary meaning,        None provided.                     None provided.
and                          i.e., “an end plug removably
Sturm, Ruger & Company, Inc. closing the open forward end
                             of the cylinder”

SIG Sauer, Inc.               A cap, separate from the          ‘722 Patent Specification:         Excerpt from “The Reduced
                              cylinder in which the             • Col. 4, ll. 50-51 (“Piston       Recoil Operational
                              piston resides, that can be       assembly 34 includes a             Compensation (RROC) Rifle
                              removed from (and when in         cylinder 40, a piston 42 and an    and Carbine Upgrade User
                              place, closes) the open forward   end plug 43.”);                    Manual January 2003”
                              end of the cylinder.              • Col. 4, ll. 53-55 (“End plug     • DAV000499 (“Using the 3/8
                                                                43 is threadedly engaged in        inch combination wrench
                                                                and closes the forward end of      provided with the RROC,
                                                                cylinder 40.”);                    unscrew and remove the gas
                                                                • Figures 3 and 4;                 cylinder plug. Covering the
                                                                • Col. 3, ll. 21-27, 30-35 (“The   open end of the gas cylinder
                                                                foregoing and further and more     with a finger, tip the upper
                                                                specific objects and advantages    receiver down and allow the
                                                                of the invention will become       gas piston to slide out.”)
                                                                more readily apparent to those
                                                                skilled in the art from the        Excerpts from May 30, 2010
                                                                following detailed description     Slide Presentation by Robert
                                                                of a preferred embodiment          B. Davies
                                                                thereof, taken in conjunction      • DAV000511, DAV000514-
                                                                with the drawings in which:        DAV000518
                                                                FIG. 1 is a side elevation view
                                                                of a rifle in accordance with
                                                                the present invention;... FIG. 3
                                                                is a view in top plan of a

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                                 portion of the rifle of FIG. 1,    Letter from Dr. John P. Keady
                                 illustrating an operating system   to Robert Davies (circa July
                                 at initiation of a cycle, in       23, 2012)
                                 accordance with the present        • DAV02430-DAV02434
                                 invention; FIG. 4 is an
                                 enlarged partially exploded
                                 perspective view of a portion
                                 of the operating system of FIG.
                                 3, at subsequent position of the
                                 cycle”)

                                 ‘722 Patent File History:
                                 • DAV000053: “The drawings
                                 clearly show that the piston is
                                 removable through from the
                                 cylinder through the forward
                                 opening when the plug is
                                 removed... FIG. 3 clearly
                                 shows that when plug 43 is
                                 removed, the piston will fit
                                 through the opening.”
                                 • DAV000078 (referring to
                                 “the applicant’s claimed rifle
                                 with ... piston assembly
                                 coupled to the barrel. The
                                 piston assemblies have a
                                 cylinder with an open forward
                                 end that is made open or
                                 closed by a plug. When the
                                 plug is removed, the piston is
                                 capable of being removed from
                                 the front of the cylinder.”)


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Claim term: “tubular handguard encircling the barrel”
Party or Parties               Proposed Construction           Supporting Intrinsic               Supporting Extrinsic
                                                               Evidence                           Evidence
Davies Innovations Inc.        Plain and ordinary meaning,     None provided.                     None provided.
                               i.e., “tubular handguard
                               encircling the barrel”

Sturm, Ruger & Company, Inc. “A substantially circular         ‘722 Patent:                       Oxford Dictionary (1999)
                             handguard composed of one or      Abstract;                          “Tubular”, def. 1: “Tube
                             more pieces”                      2:50-56, 2:60-64, 3:12-17,         shaped.”; “Tubular”, def. 1: “a
                                                               5:25-29, 5:54-57, 6:1-9, 6:48-     long hollow rigid or flexible
                                                               51, 8:19-22, 9:11-14;              cylinder, esp for holding or
                                                               Figs. 1, 5, 6, 7, 9, 9a, 11, 12,   carrying air, liquids, etc.”
                                                               18 and 19; and                     Merriam-Webster (10th Ed.
                                                               Claims 1, 5, 8, 9.                 1998) “Encircle”, def. 1: “to
                                                                                                  form a circle around”
                                                               ‘722 Pat. File History:
                                                               1/10/07 Office Action, pp. 2       DAV000457
                                                               5/8/07 Resp., pp. 2, 3, 5- 7, 9-
                                                               12                                 DAV000511, DAV000514-
                                                               3/12/08 Appeal Br., pp. 4-7, 9,    518
                                                               11, 14- 16, 19, 20, 22- 24, 26
                                                               6/30/08 Resp. to Notice of         DAV001533
                                                               Non-Compliant Appeal Br.,
                                                               pp. 3                              DAV02430-DAV02434
                                                               7/7/09 Office Action, pp. 6, 8
                                                               10/7/09 Resp., pp. 4, 6- 11
                                                               11/12/09 Office Action, pp. 3-
                                                               5
                                                               2/05/10 Resp., pp. 2, 3, 5- 7,
                                                               11



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                                                       2/05/10 Rule 131 Decl. with
                                                       Included Presentation
                                                       9/16/10 Resp., pp. 3
                                                       9/17/10 Interview Summ.

                                                       11/027956 Application:
                                                       4/17/06 Resp., pp. 2, 4
                                                       11/25/05 Resp., pp. 2

                                                       10/140268 Application:
                                                       6/3/04 Resp., pp. 2, 4, 7, 13, 17
                                                       11/21/03 Resp., pp. 2, 4, 7, 10,
                                                       12- 14
SIG Sauer, Inc.        “A one-piece, generally         ‘722 Patent Specification:          Image of Aspects of Mr.
                       cylindrical handguard that      • Col. 6, ll. 1-7 (“Barrel nut 68   Davies’ Commercial
                       continuously surrounds the      also carries a hand guard 69        Embodiment
                       barrel”                         having a central void 71 and a      • DAV000457
                                                       channel 74 extending
                                                       therealong and adjacent thereto     Excerpts from May 30, 2010
                                                       (see FIG. 9 and FIG. 9 a) and       Slide Presentation by Robert
                                                       is described in detail in co-       B. Davies
                                                       pending U.S. patent                 • DAV000511, DAV000514-
                                                       application entitled “RIFLE         518
                                                       HANDGUARD SYSTEM
                                                       WITH INTEGRATED                     Excerpt from Article in
                                                       BARREL NUT” filed 25 Mar.           January 2003 Issue of Guns &
                                                       2002, Ser. No. 10/105,700,
                                                                                           Weapons for Law Enforcement
                                                       herein incorporated by
                                                       reference.”);                       • DAV01533 (“The rear of the
                                                       • Figures 1, 9 & 9a;                handguard tube is a friction fit
                                                       • Col. 3, ll. 21-25, 46-49 (“The    over the barrel nut, which also
                                                       foregoing and further and more      helps guide it into place.... The
                                                       specific objects and advantages     current handguard is

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                                 of the invention will become      machined, but full production
                                 more readily apparent to those    ones will be extruded to reduce
                                 skilled in the art from the       manufacturing costs.”
                                 following detailed description
                                 of a preferred embodiment         Letter from Dr. John P. Keady
                                 thereof, taken in conjunction     to Robert Davies (circa July
                                 with the drawings in which: ...   23, 2012)
                                 FIG. 9 is an enlarged partial     • DAV02430-DAV02434
                                 perspective view of a portion
                                 of the operating system with
                                 handguard attached; FIG. 9a is
                                 an exploded partial perspective
                                 view illustrating the handguard
                                 carried by the barrel nut”)

                                 ‘722 Patent File History:
                                 • DAV000022, Summary of
                                 September 13, 2010 Interview
                                 (describing how “US 6694660
                                 incorporated by reference by
                                 the applicant”);
                                 • DAV000058, DAV000069,
                                 DAV000070, Rule 131
                                 Declaration (“The eleventh and
                                 twelfth slides are photographs
                                 of my invention as described
                                 and claimed in the above
                                 identified application showing
                                 an enlarged view of the
                                 handguard as mounted on a
                                 firearm.”)
                                 • DAV000064 & DAV000068


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                                 • DAV000201 (referring to
                                 item 53 in Booth, U.S.
                                 6,671,990 as disclosing a
                                 “tubular hand guard”)
                                 • DAV000191 (“Booth teaches
                                 a hand guard with a central
                                 void, but offers no teaching or
                                 suggestion of a channel
                                 adjacent thereto.”)
                                 • DAV000136-139 (noting
                                 that “co-pending U.S. Patent
                                 Application ... serial number
                                 10/105,700 incorporated in its
                                 entirety in this application.”)
                                 • DAV000147-148 (“As stated
                                 in the rejection, Langendorfer
                                 does not teach the details of
                                 the handguard ... Specifically,
                                 Langendorfer teaches
                                 handguards 31. In a
                                 conventional rifle of this type,
                                 the handguard is formed of two
                                 halves. While not specifically
                                 described, this must be the
                                 case by the use of the plural.”)
                                 • DAV000127 (“The specifics
                                 of the handguard (forward end,
                                 rearward end and central void)
                                 have been addressed by
                                 pointing out that they are
                                 described in detail in an
                                 application, now patent,
                                 incorporated by reference. The

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                                 element claimed wherein the
                                 forward end of the handguard
                                 is open to permit access to the
                                 barrel coupling of the
                                 operating system is clearly
                                 stated in the explanation of the
                                 subject matter of the
                                 independent claims as being
                                 shown in FIG. 9. However,
                                 there is no specific language in
                                 the specification to which
                                 attention can be directed, as it
                                 is simply shown in FIG. 9.”)




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Claim term: “channel providing clearance for the operating system”
Party or Parties                Proposed Construction           Supporting Intrinsic          Supporting Extrinsic
                                                                Evidence                      Evidence
Davies Innovations Inc.         Plain and ordinary meaning,     None provided.                None provided.
                                i.e., “channel providing
                                clearance for the operating
                                system”

Sturm, Ruger & Company, Inc. Both Ruger and SIG agree on        ‘722 Patent:                       DAV000424
                             the following proposed             Abstract;
                             construction:                      2:30-34, 2:40-44; 4: 25-35,        DAV000457
                                                                6:1-7;
                                “a space within the handguard   Figs. 1, 3, 4, 5, 8 and 9, 9a; and DAV000557
                                extending to the forward part   Claims 1, 5, 8
                                of the handguard and giving                                        DAV000511, DAV000514-
                                space to accommodate the        ‘722 Pat. File History:            518
                                operating system”               2/5/10 Resp., pp. 2, 5, 7,
                                                                2/05/10 Rule 131 Decl. with        DAV02430-DAV02434
                                                                Included Presentation
                                                                10/7/09 Resp., pp. 2, 4, 7, 9,
                                                                10, 12, 14 ,15
                                                                6/3/08 Resp., pp. 2
                                                                3/12/08 Appeal Br., pp. 4- 7,
                                                                9- 16
                                                                10/16/07 Office Action, pp. 3
                                                                5/8/07 Resp., pp. 2, 5, 7, 10-
                                                                12
                                                                1/10/07 Office Action, pp. 2,
                                                                14, 15




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SIG Sauer, Inc.         Both Ruger and SIG agree on     ‘722 Patent Specification:          Image of Aspects of Mr.
                        the following proposed          • Col. 6, ll. 1-7 (“Barrel nut 68   Davies’ Commercial
                        construction:                   also carries a hand guard 69        Embodiment
                                                        having a central void 71 and a      • DAV000457
                        “a space within the handguard   channel 74 extending
                        extending to the forward part   therealong and adjacent thereto     Excerpts from May 30, 2010
                        of the handguard and giving     (see FIG. 9 and FIG. 9 a) and       Slide Presentation by Robert
                        space to accommodate the        is described in detail in co-       B. Davies
                        operating system”               pending U.S. patent                 • DAV000511, DAV000514-
                                                        application entitled “RIFLE         DAV000518
                                                        HANDGUARD SYSTEM
                                                        WITH INTEGRATED                     Excerpt from May 30, 2010
                                                        BARREL NUT” filed 25 Mar.           Slide Presentation by Robert
                                                        2002, Ser. No. 10/105,700,          B. Davies
                                                        herein incorporated by              • DAV000557
                                                        reference.”);
                                                        • FIGS. 1, 9 & 9a                   Letter from Dr. John P. Keady
                                                                                            to Robert Davies (circa July
                                                        ‘722 Patent File History:           23, 2012)
                                                        • DAV000022, Summary of             • DAV02430-DAV02434
                                                        September 13, 2010 Interview
                                                        (describing how “US 6694660
                                                        incorporated by reference by
                                                        the applicant”)
                                                        • DAV000058 and
                                                        DAV000064, Rule 131
                                                        Declaration (“The sixth slide is
                                                        a photograph of my invention
                                                        as described and claimed in the
                                                        above identified application
                                                        showing the forward portion
                                                        thereof, and illustrating the
                                                        channel which provides

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                                 clearance for elements of the
                                 operating system”)
                                 • DAV000103-DAV000104
                                 (“This channel is defined by its
                                 function, namely providing
                                 clearance for the operating
                                 system. Since clearance is
                                 required, it is inherent that at
                                 least portions of the operating
                                 system are within the channel.
                                 Thus the size and position of
                                 the channel is defined in
                                 relation to the operating
                                 system.”
                                 • DAV000191 (“Thus the
                                 handguard has a central void
                                 and also has a channel adjacent
                                 thereto. As can be seen clearly
                                 in FIG. 9 of the present
                                 application, the channel
                                 provides space for the
                                 operating system.”)
                                 • DAV000136-139 (noting
                                 that “co-pending U.S. Patent
                                 Application ... serial number
                                 10/105,700 incorporated in its
                                 entirety in this application.”)
                                 • DAV000142 & DAV000144
                                 (noting that the channel of the
                                 invention must “extend to the
                                 forward portion of the
                                 handguard”)


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Claim term: “barrel coupling”
Party or Parties                Proposed Construction            Supporting Intrinsic               Supporting Extrinsic
                                                                 Evidence                           Evidence
Davies Innovations Inc.         “a device for connecting the     None provided.                     Oxford dictionary definition
                                rifle’s barrel to at least one                                      for “coupling” – “A device for
                                other component of the rifle”                                       connecting parts of machinery”
                                                                                                    (DAV004569-4573)

Sturm, Ruger & Company, Inc. Both Ruger and SIG agree on         ‘722 Patent:                       DAV000424
                             the following proposed              Abstract;                          DAV000555
                             construction:                       2:32-34, 2:34-39, 2:40-44,
                                                                 4:31-35, 8:22-24, 8:39-41          DAV000511, DAV000514-
                                “a base member for affixing at Figs. 2, 3, 4 and 9.                 518
                                least the piston assembly of the Claims 1, 5, 6, 8 and 11           DAV02430-DAV02434
                                operating system to the barrel”
                                                                 ‘722 Pat. File History:
                                                                 5/8/07 Resp., pp. 2, 3, 7, 8, 10
                                                                 3/12/08 Appeal Br., pp. 4, 6, 7,
                                                                 9, 11, 15
                                                                 6/30/08 Resp., pp. 2, 3
                                                                 10/7/09 Resp., pp. 4, 9, 13, 14
                                                                 11/7/09 Office Action, pp. 3
                                                                 2/5/10 Resp., pp. 2, 7
                                                                 2/05/10 Rule 131 Decl. with
                                                                 Included Presentation

SIG Sauer, Inc.                 Both Ruger and SIG agree on      ‘722 Patent Specification:         Image of Aspects of Mr.
                                the following proposed           • Col. 2, ll. 32-34 (“The          Davies’ Commercial
                                construction:                    operating system includes a        Embodiment
                                                                 piston assembly coupled to the     • DAV000424
                                                                 barrel for receiving propelling
                                                                 gasses from the barrel.”)

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       “a base member for affixing at • Col. 4, ll. 31-35 (“Referring     Excerpts from May 30, 2010
      least the piston assembly of the to FIGS. 3 and 4, operating        Slide Presentation by Robert
      operating system to the barrel” system 20 includes a                B. Davies
                                       cylindrical base member 30         • DAV000511, DAV000514-
                                       receivable about barrel 14         DAV000518
                                       (illustrated in broken lines), a
                                       manifold 32 carried by base        Excerpt from May 30, 2010
                                       member 30, and a piston            Slide Presentation by Robert
                                       assembly 34 carried by base        B. Davies
                                       member 30, adjacent manifold       • DAV000555
                                       32.”)
                                       • FIGS. 2, 3, 4, 8, 9              Letter from Dr. John P. Keady
                                                                          to Robert Davies (circa July
                                        ‘722 Patent File History:         23, 2012)
                                        • DAV000064                       • DAV02430-DAV02434
                                        • DAV000068
                                        • DAV000071
                                        • DAV000078 (referring to
                                        “the applicant’s claimed rifle
                                        with ... piston assembly
                                        coupled to the barrel. The
                                        piston assemblies have a
                                        cylinder with an open forward
                                        end that is made open or
                                        closed by a plug. When the
                                        plug is removed, the piston is
                                        capable of being removed from
                                        the front of the cylinder.”)




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Claim term: “passage of the piston/push rod assembly”
Party or Parties                Proposed Construction          Supporting Intrinsic               Supporting Extrinsic
                                                               Evidence                           Evidence
Davies Innovations Inc.         Plain and ordinary meaning,    None provided.                     None provided.
                                i.e., “passage of the
                                piston/push rod assembly”

Sturm, Ruger & Company, Inc. Both Ruger and SIG agree on       ‘722 Patent:                       DAV000555
                             the following proposed            4:32-35, 4:42-44, 4:50-51,         DAV000511, DAV000514-
                             construction:                     8:25-30, 8:39-46; 9:51-55;         518
                                                               Figs. 2, 3, 4, 5; and
                                “removal of the piston and     Claims 1, 5, 8, 9, 10.             DAV02430-DAV02434
                                push rod assembly resulting
                                from movement through the      ‘722 Pat. File History:
                                forward (front) end of the     10/7/09 Resp., pp. 4, 7, 9, 13
                                cylinder”                      11/7/09 Office Action, pp. 2, 3
                                                               2/5/10 Resp., pp. 2, 5, 7, 10-11

SIG Sauer, Inc.                 Both Ruger and SIG agree on    ‘722 Patent Specification:      Excerpts from May 30, 2010
                                the following proposed         • FIGS. 3 & 4                   Slide Presentation by Robert
                                construction:                                                  B. Davies
                                                               ‘722 Patent File History:       • DAV000511, DAV000514-
                                “removal of the piston and     • DAV000053: “The drawings DAV000518
                                push rod assembly resulting    clearly show that the piston is
                                from movement through the      removable through from the      Excerpt from May 30, 2010
                                forward (front) end of the     cylinder through the forward    Slide Presentation by Robert
                                cylinder”                      opening when the plug is        B. Davies
                                                               removed ... FIG. 3 clearly      • DAV000555
                                                               shows that when plug 43 is
                                                               removed, the piston will fit
                                                               through the opening.”


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                                 • DAV000077: “Claims 30,          Letter from Dr. John P. Keady
                                 36 and 41 recite a rifle with a   to Robert Davies (circa July
                                 piston, cylinder and end plug     23, 2012)
                                 arranged in such a way that if    • DAV02430-DAV02434
                                 the end plug is removed the
                                 piston is permitted to pass
                                 through the forward end of the
                                 cylinder.”
                                 • DAV000078 (referring to
                                 “the applicant’s claimed rifle
                                 with ... piston assembly
                                 coupled to the barrel. The
                                 piston assemblies have a
                                 cylinder with an open forward
                                 end that is made open or
                                 closed by a plug. When the
                                 plug is removed, the piston is
                                 capable of being removed from
                                 the front of the cylinder.”)




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